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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA             )
                                     )        CRIMINAL ACTION NO.
     v.                              )           2:21cr366-MHT
                                     )                (WO)
QUADARIUS QUENTIN SNIPES             )

                                   ORDER

    With regard to all motions in limine and written

evidentiary       objections       filed     before    trial       and     not

otherwise    set    for    submission        and   briefing        by    court

order, it is ORDERED as follows:

    (1) By no later than seven business days before

jury selection, counsel for the parties are to meet, in

person,     to     attempt     to     resolve      the       motions       and

objections; and

    (2) By no later than four business days before jury

selection,       counsel   for      the    parties     are    to     file    a

jointly prepared report (a) as to which issues in the

motions   and     objections       are     resolved    and    which       ones

remain    unresolved         and    (b),     for      each     and       every
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unresolved issue, setting forth in detail the position

of each side.

    DONE, this the 31st day of May, 2022.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE




                                  2
